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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

--------------------------------- ○
                                  :
In re:                            :                     Chapter 11
                                  :
                                  :
WILLIAMS INDUSTRIAL SERVICES                            Case No. 23-10961 (BLS)
                    1             :
GROUP INC., et al.,                                     Jointly Administered
                                  :
                        Debtors.  :
                                                        Re: D.I. 162
                                  :
--------------------------------- :
                                                        Hearing Date: September 7, 2023, at 2:00
                                                        p.m.
                                                        Obj. Deadline: September 1, 2023, at 4:00
                                                        p.m.

                OBJECTION OF THE UNITED STATES TRUSTEE
    TO DEBTORS’ MOTION FOR AN ORDER APPROVING THE DEBTORS’ (A) KEY
       EMPLOYEE RETENTION PROGRAM, (B) KEY EMPLOYEE INCENTIVE
          PROGRAM, AND (C) GRANTING CERTAIN RELATED RELIEF

                Andrew R. Vara, United States Trustee for Region 3 & Region 9 (the “U.S.

Trustee”), through his undersigned counsel, objects to the Motion for an Order Approving

Debtors’ (A) Key Employee Retention Program, (B) Key Employee Incentive Program, and (C)

Granting Certain Related Relief (D.I. 162) (the “Motion”), and in support of his objection

respectfully states:




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial
Services Group, LLC (2666), Williams Industrial Services, LLC (0406), Williams Plant Services, LLC
(9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918), Construction &
Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC
(9177), GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N.
6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors’
corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA 30338 .
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                                 PRELIMINARY STATEMENT


               1.      The Motion seeks approval of the Debtors’ proposed key employee

retention program (“KERP”) and the proposed key employee incentive program (“KEIP”)

(together, the “Plans”).

               2.      The U.S. Trustee objects to the approval of the KEIP 2 because the proposed

metrics appear easy to achieve and therefore are not truly incentivizing. As such, the KEIP is an

impermissible insider retention bonus, and approval of the KEIP should be denied. The Debtors

are left to their burden to demonstrate that the KEIP is truly incentivizing and is not impermissible

under the Bankruptcy Code.


                                  JURISDICTION & STANDING


               3.      Pursuant to 28 U.S.C. § 1334, applicable order(s) of the United States

District Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a), and 28 U.S.C. §

157(b)(2)(A), this Court has jurisdiction to hear and resolve this objection.


               4.      Pursuant to 28 U.S.C. § 586, the U.S. Trustee is charged with monitoring

the federal bankruptcy system. See United States Trustee v. Columbia Gas Sys., Inc. (In re

Columbia Gas Sys., Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that 11 U.S.C. § 307 gives

the U.S. Trustee “public interest standing”); Morgenstern v. Revco D.S., Inc. (In re Revco D.S.,

Inc.), 898 F.2d 498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).




2
 Subject to the Debtors satisfying their evidentiary burden with respect to the proposed KERP, the U.S.
Trustee does not object to the relief sought in the KERP portion of the Motion.
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                 5.    The U.S. Trustee has standing to be heard on the Motion pursuant to 11

U.S.C. § 307.


                                         BACKGROUND


                 6.    On July 22, 2023, the above-captioned debtors (the “Debtors”) filed chapter

11 petitions in this Court (the “Petition Date”).

                 7.    Also on July 22, 2023, the Debtors entered into an Asset Purchase

Agreement with the stalking horse bidder, Energy Solutions, Inc.

                 8.    On July 24, 2023, the Debtors filed their Motion for Entry of an Order (i)

Approving Bidding Procedures for the Sale of Assets, (ii) Scheduling Hearings and Objection

Deadlines with Respect to the Debtors’ Authority to Sell, (iii) Scheduling Bid Deadlines and an

Auction, (iv) Approving the Form and Manner of Notice thereof, (v) Approving Contract

Assumption and Assignment Procedures, and (vi) Granting Related Relief (D.I. 33) (the “Bid

Procedures Motion”).

                 9.    On August 15, 2023, the Debtors filed the Motion.

                 10.   Also on August 15, 2023, the Debtors’ Board of Directors approved the

Plans. Mot. ¶ 11.

                 11.   On August 19, an Order was entered approving the Bid Procedures Motion

(D.I. 196).

                 12.   To date, the Debtors have not filed their Statements of Financial Affairs and

schedules.




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The KERP


                13.     The Debtors’ proposed KERP would pay nine employees a retention bonus

totaling $175,000. Mot. Ex. C. The participants would be eligible for the bonus payments if they

are “employed by WISG through the Court’s approval of the Debtors’ sale of assets to a third-

party purchaser and the subsequent consummation and closing date of the Debtors’ sale of assets

. . .[,]” regardless of whether the sale closes. Mot. ¶ 12.


The KEIP


                14.     Under the KEIP, the Debtors propose to pay 4 senior leadership employees

a total of $200,000 if (a) they are employed by WISG through the Closing Date (or terminated for

reasons other than for cause) and (b) the sale of substantially all the Debtors’ assets closes. Id. ¶¶

14, 15.

                15.     The Debtors believe that the loss of these employees “would jeopardize the

Debtors’ ability to sell the assets for the benefit of the estates and would significantly increase the

cost of operating the Debtors through the sale, while also increasing the complexity and

transactional risk of getting to a successful sale closing.” Mot. Ex. B ¶ 13.

                16.     The Debtors also assert that the KEIP was “specifically designed to

motivate the Debtors’ senior leadership . . . and is a reasonable exercise of the Debtors’ business

judgment. Id. ¶ 14.




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                                             ARGUMENT

The KEIP Is Neither Primarily Incentivizing Nor Justified by the Facts and Circumstances.

                17.     Transfers to insiders must be reviewed under 11 U.S.C. § 503(c). If a

transfer to an insider is for the purpose of inducing the insider to stay with the Debtors, the transfers

are allowable only under Section 503(c)(1), even if the transfers are otherwise in the ordinary

course of the Debtors’ business. Nellson Nutraceutical, 369 B.R.787, 800-01 (Bankr. D. Del.

2007) (holding that nothing exists in section 503(c)(1) of the Code that would limit its applicability

to transactions or payments made outside the ordinary course of business and that the only

limitation is that such transfers be “for the benefit of, an insider of the debtor.”).

                18.     Congress added section 503(c) to the Bankruptcy Code as one of the

BAPCPA amendments in 2005, to “eradicate the notion that executives were entitled to bonuses

simply for staying with the Company through the bankruptcy process.” In re Global Home Prods.,

LLC, 369 B.R. 778, 783-84 (Bankr. D. Del. 2007). The intent of section 503(c) is to “limit the

scope of ‘key employee retention plans’ and other programs providing incentives to management

of the debtor as a means of inducing management to remain employed by the debtor.” 4 Alan N.

Resnick & Henry J. Sommer (eds.), COLLIER ON BANKRUPTCY ¶ 503.17 (15th ed. rev. 2007); see

also In re Foothills Texas, Inc., 408 B.R. 573, 577 (Bankr. D. Del. 2009) (stating that section

503(c) restricts debtors from making retention or severance payments to insiders unless applicable

requirements of section 503(c) are satisfied.); In re AMR Corp., 497 B.R. 690, 696 (Bankr.

S.D.N.Y. 2013) (finding that the language of Section 503(c) is prohibitive; if payments to insiders

do not comply with the applicable 503(c) provisions, they “shall neither be allowed, nor paid”).

                19.     Section 503(c) establishes specific and strict evidentiary standards that must

be met before a bankruptcy court may authorize payments to an insider for the purpose of inducing
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such person to remain with a debtor’s business or payments made on account of severance. In re

Dana Corp., 351 B.R. 96, 102 (Bankr. S.D.N.Y. 2006) (“Dana I”); 11 U.S.C. § 503(c)(1). By

enacting the BAPCPA, Congress put into place “a set of challenging standards” and “high hurdles”

for debtors to overcome before retention bonuses could be paid. In re Mesa Air Grp., Inc., Case

No. 10-10018 (MG), 2010 WL 3810899, *2 (Bankr. S.D.N.Y. Sept. 24, 2010) (citations omitted).

The proponent of a bonus plan has the burden of showing that the plan is not a retention plan

governed by Section 503(c)(1). In re Hawker Beechcraft, Inc., 479 B.R. 308, 313 (Bankr. S.D.N.Y.

2012). For the KEIP, the Debtors cannot satisfy this burden. Rather, the KEIP appears to be a

thinly-disguised retention plan to reward the insiders for remaining with the Debtors through the

sale of the Debtors’ business.

               20.     Where section 503(c)(1) applies, the transfer cannot be justified solely on

the debtor’s business judgment. See In re Borders Grp., Inc., 453 B.R. 459, 470-71 (Bankr.

S.D.N.Y. 2011). If a proposed transfer falls within section 503(c)(1), then the business judgment

rule does not apply, irrespective of whether a sound business purpose may actually exist. Id.; Dana

I, 351 B.R. at 100; 11 U.S.C. § 503(c)(1). Here, if the KEIP is governed by section 503(c)(1),

there is no evidence that the KEIP payments would satisfy the strict requirements for making

retention payments to insiders, which must include “a finding based on evidence in the record that

. . . the individual[s] [have] a bona fide job offer from another business at the same or greater rate

of compensation[.]” 11 U.S.C. § 503(c)(1).

               21.     To show that a bonus plan is not governed by section 503(c)(1), the Debtors

must prove by a preponderance of the evidence that the bonuses are a part of a “pay for value”

plan that offers incentives based on performance rather than a “pay to stay” plan. Global Home

Prods., 369 B.R. at 783; accord Residential Cap., LLC, 478 B.R. 154, 170 (Bankr. S.D.N.Y. 2012).
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If the Debtors fail to meet their burden of proof, then the bonus plan cannot be approved. In

addition, although any payment to an employee, including regular wages, has at least a partial

purpose of retaining the employee, for bonus plans to fall outside the purview of section 503(c)(1),

they must be primarily incentivizing. In re Nellson Nutraceutical, 369 B.R. 787, 802 (Bankr. D.

Del. 2007) (bankruptcy court construed section 503(c)(1) to mean “’a transfer to ... an insider of

the debtor for the [primary] purpose of inducing such person to remain with the debtor’s

business.’”) (citation omitted; emphasis in original). The requirements to receive the bonus (a)

remaining employed until the sale closes, and (b) that a sale actually closes are the epitome of a

“pay to stay” plan, which seeks to reward the insider KEIP participants for remaining employed

through the sales process. No additional sale value to the estates is sought from or required from

the KEIP participants in order to earn the offered bonus. Presumably, even if the sale process

results in a lower recovery than the current stalking horse bid, the KEIP participants would be paid

the same bonus.

               22.     Further, a debtor’s label of a plan as incentivizing to avoid the strictures of

section 503(c)(1) must be viewed with skepticism; the circumstances under which the proposal is

made and the structure of the compensation package control. In re Velo Holdings, Inc., 472 B.R.

201, 209 (Bankr. S.D.N.Y. 2012) (“Attempts to characterize what are essentially prohibited

retention programs as incentive programs in order to bypass the requirements of section 503(c)(1)

are looked upon with disfavor, as the courts consider the circumstances under which particular

proposals are made, along with the structure of the compensation packages, when determining

whether the compensation programs are subject to section 503(c)(1).”) (internal quotation marks

and citations omitted); see also Residential Cap., 478 B.R. at 161 (finding that an incentive plan

“should incentivize employees for their post-petition efforts, not compensate them for the work
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they did before the bankruptcy filing.”); Hawker Beechcraft, 479 B.R. at 313 (“The concern in the

type of motion presented ... is that the debtor has dressed up a KERP to look like a KEIP in the

hope that it will pass muster under the less demanding ‘facts and circumstances’ standard in ... §

503(c)(3).”); Dana I, 351 B.R. at 102 n. 3 (“If it walks like a duck (KERP) and quacks like a duck

(KERP), it’s a duck (KERP).”).

               23.     In the present cases, the predominant metrics for determining payment of

the KEIP award are the (i) consummation of the sale (the condition for the participant’s entitlement

to the KEIP award) and (ii) the condition that the KEIP participants remain within the employ of

the Debtors when a sale closes.

               24.     The KEIP participants will each earn $50,000 if the sale to the stalking horse

bidder, or any other buyer, closes. Closing a sale for the Debtors’ assets that was in place at the

time of the filing of the chapter 11 cases and the Motion does not appear to be a difficult-to-achieve

metric. Without sufficiently challenging objectives that trigger the bonus payments, the KEIP Plan

is not incentivizing, and is a fait accompli for payment of the funds dedicated to the KEIP.

               25.     To the extent that the Court determines that the payments are not retention

payments, Section 503(c)(3) limits payments made to the Debtors’ employees outside of the

ordinary course unless such payments are justified by “the facts and circumstances of the case.”

11 U.S.C. § 503(c)(3). Absent fulfilling the evidentiary requirements set forth by the Bankruptcy

Code, it is not proper for those payments to be allowed or paid.

               26.     The payments here are not in the ordinary course of the Debtors’ business.

The Motion establishes that the Debtors designed the KEIP (and the KERP) specifically for the

chapter 11 cases. Mot. ¶ 5. (“Because of the filing of these bankruptcy cases and related stresses

and difficulties faced by the Debtors and their employees during recent weeks and months, the
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Debtors have recently experienced employee attrition in critical positions.”). In fact, the Board

approved the Plans three weeks after the Petition Date and the APA was signed, and only 2 days

before the Bid Procedures hearing. Id. ¶ 11.

               27.     Transactions outside the ordinary course of business which relate to

compensation must be analyzed under section 503(c)(3). Certain courts have held that the “facts

and circumstances” language of section 503(c)(3) creates a standard substantially similar to the

business judgment standard under section 363(b). See Borders, 453 B.R. at 473.

               28.     In In re Dana Corp., (Dana II), 358 B.R. 567, 576-77 (Bankr. S.D.N.Y.

2006), Judge Lifland listed several factors that courts consider when determining if the structure

of a compensation proposal and the process for its development meet the business judgment test:

               • Is there a reasonable relationship between the plan proposed and
               the results to be obtained, i.e., will the key employee stay for as
               long as it takes for the debtor to reorganize or market its assets, or,
               in the case of a performance incentive, is the plan calculated to
               achieve the desired performance?
               • Is the cost of the plan reasonable in the context of the debtor's
               assets, liabilities and earning potential?
               • Is the scope of the plan fair and reasonable; does it apply to all
               employees; does it discriminate unfairly?
               • Is the plan or proposal consistent with industry standards?
               • What were the due diligence efforts of the debtor in investigating
               the need for a plan; analyzing which key employees need to be
               incentivized; what is available; what is generally applicable in a
               particular industry?
               • Did the debtor receive independent counsel in performing due
               diligence and in creating and authorizing the incentive
               compensation?
358 B.R. at 576–77 (emphasis in original); see Global Home, 369 B.R. at 786 (evaluating an

incentive plan under the business judgment standard of section 363 by applying the factors listed

above); Borders, 453 B.R. at 474 (same). But see In re Pilgrim’s Pride Corp., 401 B.R. 229, 236-
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37 (Bankr. N.D. Tex. 2009) (noting the standard for approval under section 503(c)(3) is higher

than the business judgment test; if payments to employees outside the ordinary course were only

subject to the business judgment test, then the language of section 503(c)(3) would ostensibly be

rendered meaningless).

               29.     If the Court finds that the proposed bonus payments do not fall within the

parameters of section 501(c)(1) because they are not primarily retentive, then the Debtors have the

burden of proof to establish that the requested bonuses are justified by “the facts and circumstances

of the case.” 11 U.S.C. § 503(c)(3).

               30.     The U.S. Trustee reserves any and all rights, remedies and obligations to

complement, supplement, augment, alter and/or modify this objection, file an appropriate motion,

or conduct any and all discovery as may be deemed necessary or as may be required, and to object

on such other grounds as may become apparent upon further factual discovery.


               WHEREFORE, the U.S. Trustee respectfully requests that the Court deny the

 Motion and grant such other relief as the Court deems appropriate and just.


 Dated August 30, 2023                                 Respectfully submitted,
 Wilmington, Delaware
                                                       ANDREW R. VARA
                                                       UNITED STATES TRUSTEE

                                                       By: /s/ Joseph F. Cudia
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